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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 11-CIV-61455-WJZ

   SECURITIES AND                    )
   EXCHANGE COMMISSION,              )
                                     )
                 Plaintiff,          )
   v.                                )
                                     )
   DOUGLAS NEWTON and                )
   REAL AMERICAN BRANDS, INC.        )
   n/k/a REAL AMERICAN CAPITAL CORP.,)
                                     )
                 Defendants.         )
                                     )

                        JUDGMENT OF PERMANENT INJUNCTION
                 AND OTHER RELIEF AS TO DEFENDANT DOUGLAS NEWTON

              The Securities and Exchange Commission having filed a Complaint, and Douglas

   Newton: having consented to the Court’s jurisdiction over him and the subject matter of this

   action; consented to entry of this Judgment of Permanent Injunction and Other Relief (the

   “Judgment”); waived findings of fact and conclusions of law; and waived any right to appeal

   from this Judgment:

                                                   I.

                       SECTION 17(A) OF THE SECURITIES ACT OF 1933

              IT IS ORDERED AND ADJUDGED that Newton and his agents, servants, employees,

   attorneys, and all persons in active concert or participation with them who receive actual notice

   of this Judgment by personal service or otherwise are permanently restrained and enjoined from

   violating     Section   17(a)   of   the   Securities   Act   of   1933    (“Securities   Act”),




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   15 U.S.C. § 77q(a), by, in the offer or sale of any security, using any means or instruments of

   transportation or communication in interstate commerce or the mails, directly or indirectly:

              (a)   to employ any device, scheme, or artifice to defraud;

              (b)   to obtain money or property by means of any untrue statement of a
                    material fact or any omission of a material fact necessary in order to make
                    the statements made, in light of the circumstances under which they were
                    made, not misleading; or

              (c)   to engage in any transaction, practice, or course of business which
                    operates or would operate as a fraud or deceit upon the purchaser;

   involving the payment of undisclosed compensation in the form of cash, stock, or any other item

   of value to any investment adviser or manager or to any person associated with such investment

   adviser or manager.

                                                    II.

                               SECTION 10(B) AND RULE 10B-5
                         OF THE SECURITIES EXCHANGE ACT OF 1934

              IT IS FURTHER ORDERED AND ADJUDGED that Newton and his agents, servants,

   employees, attorneys, and all persons in active concert or participation with them who receive

   actual notice of this Judgment by personal service or otherwise are permanently restrained and

   enjoined from violating, directly or indirectly, Section 10(b) of the Securities Exchange Act of

   1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5, 17 C.F.R.

   § 240.10b-5, by using any means or instrumentality of interstate commerce, or of the mails, or of

   any facility of any national securities exchange, in connection with the purchase or sale of any

   security:

              (a)   to employ any device, scheme, or artifice to defraud;




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              (b)   to make any untrue statement of a material fact or to omit to state a
                    material fact necessary in order to make the statements made, in the light
                    of the circumstances under which they were made, not misleading; or

              (c)   to engage in any act, practice, or course of business which operates or
                    would operate as a fraud or deceit upon any person;

   involving the payment of undisclosed compensation in the form of cash, stock, or any other item

   of value to any investment adviser or manager or to any person associated with such investment

   adviser or manager.

                                                   III.

                                         PENNY STOCK BAR

              IT IS FURTHER ORDERED AND ADJUDGED that Newton is permanently barred

   from participating in an offering of penny stock, including engaging in activities with a broker,

   dealer, or issuer for purposes of issuing, trading, or inducing or attempting to induce the purchase

   or sale of any penny stock. A penny stock is any equity security that has a price of less than five

   dollars, except as provided in Rule 3a51-1 under the Exchange Act, 17 C.F.R. 240.3a51-1.

                                                   IV.

                             DISGORGEMENT AND CIVIL PENALTY

              IT IS FURTHER ORDERED AND ADJUDGED that Newton shall be liable to pay

   disgorgement of ill-gotten gains, prejudgment interest thereon, and a civil penalty pursuant to

   Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d), and Section 21(d)(3) of the Exchange

   Act, 15 U.S.C. § 78u(d)(3). The Court shall determine the amounts of the disgorgement and

   civil penalty, if any, upon motion of the Commission. Prejudgment interest, if any, shall be

   calculated from April 8, 2009 to the date of entry of the order of disgorgement against Newton,

   based on the rate of interest used by the Internal Revenue Service for the underpayment of

   federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s
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   motion for disgorgement and/or civil penalties, and at any hearing held on such a motion: (a)

   Newton will be precluded from arguing that he did not violate the federal securities laws as

   alleged in the Complaint; (b) Newton may not challenge the validity of the Consent or this

   Judgment; (c) solely for the purposes of such motion, the allegations of the Complaint shall be

   accepted as and deemed true by the Court; and (d) the Court may determine the issues raised in

   the motion on the basis of affidavits, declarations, excerpts of sworn deposition or investigative

   testimony, and documentary evidence, without regard to the standards for summary judgment

   contained in Rule 56(c) of the Federal Rules of Civil Procedure.           In connection with the

   Commission’s motion for disgorgement and/or civil penalties, the parties may take discovery,

   including discovery from appropriate non-parties.

                                                   V.

                         INCORPORATION OF NEWTON’S CONSENT

              IT IS FURTHER ORDERED AND ADJUDGED that the Consent is incorporated

   herein with the same force and effect as if fully set forth herein, and that Newton shall comply

   with all of the undertakings and agreements set forth therein.

                                                   VI.

                                 RETENTION OF JURISDICTION

              IT IS FURTHER ORDERED AND ADJUDGED that this Court shall retain

   jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

              Done and Ordered in Chambers in Fort Lauderdale, Florida, this ___day of

   ______________, 2012.

                                                 ____________________________________
                                                 WILLIAM J. ZLOCH
                                                 UNITED STATES DISTRICT JUDGE

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